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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


    In re:                                                                            Chapter 11

    BOY SCOUTS OF AMERICA AND                                                         Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC.1

                                     Debtors.                                         (Jointly Administered)


                                                AFFIDAVIT OF SERVICE

       I, Colin Linebaugh, depose and say that I am employed by Omni Agent Solutions (“Omni”), the
claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

       On May 4, 2020, at my direction and under my supervision, employees of Omni Agent Solutions
caused true and correct copies of the following documents to be served by the method set forth on the
Master Service List attached hereto as Exhibit A:

       Declaration of Shannon R. Wheatman, Ph.D. in Support of Procedures for Providing Direct
        Notice and Supplemental Notice Plan to Provide Notice of Bar Date to Abuse Survivors
        [Docket No. 556].

       Supplement to Debtors’ Bar Date Motion [Docket No. 557].

       Notice of Hearing of the Debtors’ Motion, Pursuant to 11 U.S.C. § 502(b)(9), Bankruptcy
        Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and 3003-1, for Authority to
        (I) Establish Deadlines for Filing Proofs of Claim, (II) Establish the Form and Manner of
        Notice Thereof, (III) Approve Procedures for Providing Notice of Bar Date and other
        Important Information to Abuse Victims, and (IV) Approve Confidentiality Procedures for
        Abuse Victims [Docket No. 558].




1
    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number, are as
    follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane,
    Irving, Texas 75038.
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                                                                                                    Exhibit A
                                                                                              Core/2002 Service List
                                                                                             Served as set forth below

Description                                       Name                                    Address                                      Fax          Email                               Method of Service
Notice of Appearance/Request for Notices          A.M. Saccullo Legal, LLC                Attn: Anthony M. Saccullo                    302-836-8787 ams@saccullolegal.com               Email
Counsel for Jorge Vega and all other current or                                           Attn: Mary E. Augustine, Esq.                             meg@saccullolegal.com
future personal injury claimants                                                          27 Crimson King Drive
                                                                                          Bear, DE 19701
Notice of Appearance/Request for Notices          Andrews & Thornton                      Attn: Anne Andrews                           949-315-3540 aa@andrewsthornton.com              Email
Counsel for Jorge Vega and all other current or                                           Attn: John C. Thornton
future personal injury claimants                                                          4701 Von Karman Ave, Suite 300
                                                                                          Newport Beach, CA 92660
Notice of Appearance/Request for Notices            Ashby & Geddes, P.A.                  Attn: Bill Bowden                            302-654-2067 wbowden@ashbygeddes.com             Email
Counsel for Del-Mar-Va Council, Inc., Boy Scouts of                                       500 Delaware Avenue, 8th Floor
America                                                                                   P.O. Box 1150
                                                                                          Wilmington, DE 19899-1150
Notice of Appearance/Request for Notices          Baker Manock & Jensen, PC               Attn: Jan T. Perkins                                       jperkins@bakermanock.com           Email
Counsel for Sequoia Council of Boy Scouts, Inc.                                           5260 North Palm Avenue, Suite 421
                                                                                          Fresno, CA 93704
Notice of Appearance/Request for Notices          Bielli & Klauder, LLC                   Attn: David M. Klauder                       302-397-2557 dklauder@bk-legal.com               Email
Counsel for Various Tort Claimants                                                        1204 N. King Street
                                                                                          Wilmington, DE 19801
Notice of Appearance/Request for Notices          Bradley Riley Jacobs PC                 Attn: Todd C. Jacobs                                       tjacobs@bradleyriley.com           Email
Counsel for the National Surety Corporation                                               320 W Ohio St, Ste 3W
                                                                                          Chicago, IL 60654
Notice of Appearance/Request for Notices          Buchalter, A Professional Corporation   Attn: Shawn M. Christianson                  415-227-0770 schristianson@buchalter.com         Email
Counsel for Oracle America, Inc                                                           55 Second Street, 17th Floor
                                                                                          San Francisco, California 94105-3493
Notice of Appearance/Request for Notices Counsel Butler Snow LP                           Attn: Daniel W. Van Horn                                   Danny.VanHorn@butlersnow.com       Email
for Chicksaw Council, BSA, Inc.                                                           P.O. Box 171443
                                                                                          Memphis, TN 38187-1443
Notice of Appearance/Request for Notices          Carruthers & Roth, P.A.                 Attn: Britton C. Lewis                       336-478-1145 bcl@crlaw.com                       Email
Counsel for Arrowood Indemnity Company                                                    235 N. Edgeworth St.
                                                                                          P.O. Box 540
                                                                                          Greensboro, NC 27401
Notice of Appearance/Request for Notices Counsel Chipman, Brown, Cicero & Cole, LLP       Attn: Mark Desgrosseilliers                  302-295-0199 degross@chipmanbrown.com            Email
for Jane Doe, Party in Interest                                                           1313 N Market St, Ste 5400
                                                                                          Wilmington, DE 19801
Notice of Appearance/Request for Notices          Choate, Hall & Stewart LLP              Attn: Douglas R. Gooding                     617-248- 4000 dgooding@choate.com                Email
Counsel for Liberty Mutual Insurance Company                                              Attn: Jonathan D. Marshall                                 jmarshall@choate.com
                                                                                          Attn: Michael J. Foley, Jr.                                mjfoley@choate.com
Notice of Appearance/Request for Notices -          Commonwealth of Pennsylvania          Dept of Labor & Industry                     717-787-7671 ra-li-ucts-bankrupt@state.pa.us     Email
Authorized Agent for the Commonwealth of                                                  Attn: Deb Secrest/Collections Support Unit
Pennsylvania, Dept of Labor and Industry, Office of                                       651 Boas St, Rm 925
Unemployment Compensation Tax Services (UCTS)                                             Harrisburg, PA 17121

Notice of Appearance/Request for Notices          Connolly Gallagher, LLP                 Attn: Karen C. Bifferato                                   kbifferato@connollygallagher.com   Email
Counsel for IRC Burnsville Crossing, LLC                                                  Attn: Kelly M. Conlan                                      kconlan@connollygallagher.com
                                                                                          1201 N Market St, 20th Fl
                                                                                          Wilmington, DE 19801



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                                                                                                              Exhibit A
                                                                                                        Core/2002 Service List
                                                                                                       Served as set forth below

Description                                         Name                                            Address                                   Fax          Email                                 Method of Service
Notice of Appearance/Request for Notices            Coughlin Duffy, LLP                             Attn: Kevin Coughlin                      973-267-6442 kcoughlin@coughlinduffy.com           Email
Counsel for Arrowood Indemnity Company                                                              Attn: Lorraine Armenti                                 larmenti@coughlinduffy.com
                                                                                                    Attn: Michael Hrinewski                                mhrinewski@coughlinduffy.com
                                                                                                    350 Mount Kemble Ave.
                                                                                                    PO Box 1917
                                                                                                    Morristown, NJ 0796
Notice of Appearance/Request for Notices Counsel Davies Hood PLLC                                   Attn: Jason P. Hood                                     Jason.Hood@davieshood.com            Email
for Chicksaw Council, BSA, Inc.                                                                     22 North Front Street, Suite 620
                                                                                                    Memphis, TN 38103-2100
Notice of Appearance/Request for Notices            Dorsey & Whitney LLP                            Attn: Bruce R. Ewing                                    ewing.bruce@dorsey.com               Email
Counsel for Girl Scouts of the United States of                                                     Attn: Eric Lopez Schnabel                               schnabel.eric@dorsey.com
America                                                                                             51 W 52nd St
                                                                                                    New York, NY 10019
Notice of Appearance/Request for Notices            Dorsey & Whitney LLP                            Attn: Eric Lopez Schnabel                               schnabel.eric@dorsey.com             Email
Counsel for Girl Scouts of the United States of                                                     Attn: Alessandra Glorioso                               glorioso.alessandra@dorsey.com
America                                                                                             300 Delaware Ave, Ste 1010
                                                                                                    Wilmington, DE 19801
Notice of Appearance/Request for Notices            Faegre Drinker Biddle & Reath LLP               Attn: Michael P. Pompeo                   317-569-4800 michael.pompeo@faegredrinker.com      Email
Counsel for The Roman Catholic Diocese of                                                           1177 Avenue of the Americas, 41st Floor
Brooklyn, New York                                                                                  New York, NY 10036-2714
Notice of Appearance/Request for Notices            Faegre Drinker Biddle & Reath LLP               Attn: Patrick A. Johnson                  302-467-4201 patrick.jackson@faegredrinker.com     Email
Counsel for The Roman Catholic Diocese of                                                           Attn: Kaitlin W. MacKenzie                             kaitlin.mackenzie@faegredrinker.com
Brooklyn, New York                                                                                  222 Delaware Ave, Ste 1410
                                                                                                    Wilmington, DE 19801-1621
Notice of Appearance/Request for Notices            Faegre Drinker Biddle & Reath LLP               Attn: Jay Jaffe                           317-569-4800 jay.jaffe@faegredrinker.com           Email
Counsel for Weaver Fundraising, LLC d/b/a Trail's                                                   600 E. 96th St, Ste 600
End Popcorn Company                                                                                 Indianapolis, IN 46240
Notice of Appearance/Request for Notices            Faegre Drinker Biddle & Reath LLP               Attn: Patrick A. Johnson                  302-467-4201 patrick.jackson@faegredrinker.com     Email
Counsel for Weaver Fundraising, LLC d/b/a Trail's                                                   222 Delaware Ave, Ste 1410
End Popcorn Company                                                                                 Wilmington, DE 19801-1621
Notice of Appearance/Request for Notices            Fineman Krekstein & Harris, PC                  Attn: Dierdre M. Richards                 302-394-9228 drichards@finemanlawfirm.com          Email
Counsel for National Union Fire Insurance Co of                                                     1300 N King St
PA, AIG                                                                                             Wilmington, DE 19801
Notice of Appearance/Request for Notices            Foley & Lardner LLP                             Attn: Richard J. Bernard                  212-687-2329 rbernard@foley.com                    Email
Counsel for Boys Scouts of America San Diego                                                        90 Park Ave
                                                                                                    New York, NY 10016
Notice of Appearance/Request for Notices            Foley & Lardner LLP                             Attn: Victor Vilaplana                    858-792-6773 vavilaplana@foley.com                 Email
Counsel for Boys Scouts of America San Diego                                                        3579 Valley Centre Dr, Ste 300
                                                                                                    San Diego, CA 92130
Notice of Appearance/Request for Notices            Foran Glennon Planadech Ponzi & Rudloff, P.C.   Attn: Susan N K Gummow                    312-863-5000 sgummow@fgppr.com                     Email
Counsel for National Union Fire Insurance Co of                                                     Attn: Igor Shleypak                                    ishleypak@fgppr.com
PA, AIG                                                                                             222 N LaSalle St, Ste 1400
                                                                                                    Chicago, IL 60614
Notice of Appearance/Request for Notices            Fox Swibel Levin & Carroll LLP                  Attn: Margaret M. Anderson                312-224-1201 panderson@foxswibel.com               Email
Counsel for Old Republic Insurance Company                                                          200 W Madison St, Ste 3000
                                                                                                    Chicago, IL 60606



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and Delaware BSA, LLC
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                                                                                                 Core/2002 Service List
                                                                                                Served as set forth below

Description                                         Name                                     Address                               Fax          Email                              Method of Service
Core Parties                                        Internal Revenue Service                 Centralized Insolvency Operation      855-235-6787                                    First Class Mail
Internal Revenue Service                                                                     P.O. Box 7346
                                                                                             Philadelphia, PA 19101-7346
Notice of Appearance/Request for Notices            Jacobs & Crumplar, P.A.                  Attn: Reann Warner                    302-656-5875 raeann@jcdelaw.com                 Email
Counsel for Certain Claimants                                                                Attn: Thomas C. Crumplar                           tom@jcdelaw.com
                                                                                             750 Shipyard Dr., Suite 200
                                                                                             Wilmington, DE 19801
Notice of Appearance/Request for Notices            Janet, Janet & Scuggs, LLC               Attn: Gerald D. Jowers, Jr            803-727-1059 gjowers@JJSJustice.com             Email
Counsel for Claimant J.M. as party in interest                                               500 Taylor St, Ste 301
                                                                                             Columbia, SC 29201
Bank Debt                                           JPMorgan Chase Bank, NA                  Attn: Phil Martin                                                                     First Class Mail
                                                                                             10 S Dearborn St
                                                                                             Mail Code Il1-1415
                                                                                             Chicago, Il 60603
Notice of Appearance/Request for Notices            Karr Tuttle Campbell, PS                 Attn: Bruce W. Leaverton              206-682-7100 bleaverton@karrtuttle.com          Email
Counsel for Chief Seattle Council, Boy Scouts of                                             701 5th Ave, Ste 3300
America                                                                                      Seattle, WA 98104
Notice of Appearance/Request for Notices            Kramer Levin Naftalis & Frankel LLP      Attn: Thomas Moers Mayer              212-715-8000 tmayer@kramerlevin.com             Email
Counsel for the Official Committee of Unsecured                                              Attn: Rachel Ringer                                rringer@kramerlevin.com
Creditors                                                                                    Attn: David E. Blabey Jr.                          dblabey@kramerlevin.com
                                                                                             Attn: Jennifer R. Sharret                          jsharret@kramerlevin.com
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                                                                                             New York, NY 10036
Notice of Appearance/Request for Notices            Latham & Watkins LLP                     Attn: Adam J. Goldberg                212-751-4864 adam.goldberg@lw.com               Email
Counsel for The Church of Jesus Christ of Latter-                                            885 3rd Ave
day Saints                                                                                   New York, NY 10022-4834
Notice of Appearance/Request for Notices            Latham & Watkins LLP                     Attn: Jeffrey E Bjork                 213-891-8763 jeff.bjork@lw.com                  Email
Counsel for The Church of Jesus Christ of Latter-                                            Attn: Kimberly A Posin                             kim.posin@lw.com
day Saints                                                                                   Attn: Nicholas J Messana                           nicholas.messana@lw.com
                                                                                             355 S Grand Ave, Ste 100
                                                                                             Los Angeles, CA 90071-1560
Notice of Appearance/Request for Notices            Linebarger Goggan Blair & Sampson, LLP   Attn: Elizabeth Weller                469-221-5003 dallas.bankruptcy@publicans.com    Email
Counsel for Dallas County                                                                    2777 N. Stemmons Fwy, Ste 1000
                                                                                             Dallas, TX 75207
Notice of Appearance/Request for Notices          Linebarger Goggan Blair & Sampson, LLP     Attn: John P. Dillman                 713-844-3503 houston_bankruptcy@publicans.com   Email
Counsel for Houston Liens, Harris County,                                                    P.O. Box 3064
Cleveland ISD, Montgomery County, Orange                                                     Houston, TX 77253-3064
County, and Montgomery County
Notice of Appearance/Request for Notices          Maurice Wutscher LLP                       Attn: Alan C. Hochheiser              216-472-8510 ahochheiser@mauricewutscher.com    Email
Counsel for AmTrust North America, Inc. on behalf                                            23611 Chagrin Blvd. Suite 207
of Wesco Insurance Company                                                                   Beachwood, OH 44123




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Description                                        Name                                             Address                               Fax          Email                       Method of Service
Notice of Appearance/Request for Notices           McCreary, Veselka, Bragg & Allen, PC             Attn: Tara LeDay                      512-323-3205 tleday@mvbalaw.com          Email
Counsel for The County of Anderson, Texas, The                                                      P.O. Box 1269
County of Denton, Texas, Harrison Central                                                           Round Rock, TX 78680
Appraisal District, The County of Harrison, Texas,
The County of Henderson, Texas, Midland Central
Appraisal District, The County of Milam, Texas,
Terry County Appraisal District and The County of
Williamson, Texas

Notice of Appearance/Request for Notices          McDermott Will & Emery LLP                          Attn: Ryan S. Smethurst             202-756-8087 rsmethurst@mwe.com          Email
Counsel for Allianz Global Risks US Insurance                                                         Attn: Margaret H. Warner                         mwarner@mwe.com
Company                                                                                               The McDermott Building
                                                                                                      500 North Capitol Street, NW
                                                                                                      Washington, DC 20001-1531
Notice of Appearance/Request for Notices          Mintz, Levin, Cohn, Ferris, Glovsky And Popeo, P.C. Attn: Kim V. Marrkand               617-542- 2241 kmarrkand@mintz.com        Email
Counsel for Liberty Mutual Insurance Company                                                          Attn: Nancy D. Adams                              ndadams@mintz.com
                                                                                                      Attn: Laura Bange Stephens                        lbstephens@mintz.com
                                                                                                      One Financial Ctr
                                                                                                      Boston, MA 02111
Notice of Appearance/Request for Notices          Mirick, O'Connell, DeMallie & Lougee, LLP           Attn: Kate P Foley                  508-898-1502 kfoley@mirickoconnell.com   Email
Counsel for Sun Life Assurance Company of                                                             1800 W Park Dr, Ste 400
Canada                                                                                                Westborough, MA 01581
Notice of Appearance/Request for Notices          Mirick, O'Connell, DeMallie & Lougee, LLP           Attn: Paul W Carey                  508-791-8502 pcarey@mirickoconnell.com   Email
Counsel for Sun Life Assurance Company of                                                             100 Front St
Canada                                                                                                Worcester, MA 01608
Notice of Appearance/Request for Notices          Missouri Department of Revenue                      Bankruptcy Unit                     573-751-7232 deecf@dor.mo.gov            Email
Counsel for Missouri Department of Revenue                                                            Attn: Steven A. Ginther
                                                                                                      PO Box 475
                                                                                                      Jefferson City, MO 65105-0475
Notice of Appearance/Request for Notices          Monzack Mersky McLaughlin & Browder, PA             Attn: Brian McLaughlin              302-656-2769 bmclaughlin@monlaw.com      Email
Counsel for Waste Management                                                                          Attn: Rachel Mersky                              rmersky@monlaw.com
                                                                                                      1201 N Orange St, Ste 400
                                                                                                      Wilmington, DE 19801
Notice of Appearance/Request for Notices Counsel Morris James LLP                                     Attn: Jeffrey R. Waxman             302-571-1750 jwaxman@morrisjames.com     Email
for Pearson Education, Inc. and NCS Pearson, Inc.                                                     Attn: Eric J. Monso                              emonzo@morrisjames.com
                                                                                                      500 Delaware Ave, Ste 1500
                                                                                                      P.O. Box 2306
                                                                                                      Wilmington, DE 19899-2306
Notice of Appearance/Request for Notices          Morris James LLP                                    Attn: Brett D. Fallon               302-571-1750 bfallon@morrisjames.com     Email
Counsel for Old Republic Insurance Company                                                            Attn: Brya M. Keilson                            bkeilson@morrisjames.com
                                                                                                      500 Delaware Ave, Ste 1500
                                                                                                      P.O. Box 2306
                                                                                                      Wilmington, DE 19899-2306




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                                                                                                       Core/2002 Service List
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Description                                       Name                                             Address                               Fax          Email                                     Method of Service
Core Parties                                      Morris, Nichols, Arsht & Tunnell                 Attn: Derek C. Abbott                 302-658-7036 dabbott@mnat.com                          Email
Counsel for Debtor                                                                                 Attn: Joseph Charles Barsalona II                  jbarsalona@mnat.com
                                                                                                   Attn: Eric Moats                                   emoats@mnat.com
                                                                                                   Attn: Andrew R. Remming                            aremming@mnat.com
                                                                                                   Attn: Paige N. Topper                              ptopper@mnat.com
                                                                                                   1201 N. Market Street
                                                                                                   P.O. Box 1347
                                                                                                   Wilmington, DE, 19899

Notice of Appearance/Request for Notices         Nagel Rice LLP                                    Attn: Bradley L Rice                  973-618-9194 brice@nagelrice.com                       Email
Counsel for Jack Doe, Creditor and Defendant in                                                    103 Eisenhower Pkwy
Adversary Case                                                                                     Roseland, NJ 07068
Notice of Appearance/Request for Notices         Nicolaides Fink Thorpe Michaelides Sullivan LLP   Attn: Matthew S. Sorem                312-585-1401 msorem@nicolaidesllp.com                  Email
Counsel for Allianz Global Risks US Insurance                                                      10 S. Wacker Dr., 21st Floor
Company                                                                                            Chicago, IL 60606
Notice of Appearance/Request for Notices Counsel Nelson Comis Kettle & Kinney, LLP                 A n: William E. Winﬁeld               805-604-      wwinfield@calattys.com
for Ventura County Council of BSA                                                                  300 E Esplande Dr, Ste 1170           4150
                                                                                                   Oxnard, CA 93036
Notice of Appearance/Request for Notices          Norton Rose Fulbright Us LLP                     Attn: Louis R. Strubeck, Jr.                        louis.strubeck@nortonrosefulbright.com   Email
Counsel for JPMorgan Chase Bank, National                                                          1301 Ave of the Americas
Association                                                                                        New York, NY 10019-6022
Notice of Appearance/Request for Notices          Norton Rose Fulbright Us LLP                     Attn: Louis R. Strubeck, Jr           214-855-8200 louis.strubeck@nortonrosefulbright.com    Email
Counsel for JPMorgan Chase Bank, National                                                          Attn: Kristian W. Gluck                            kristian.gluck@nortonrosefulbright.com
Association                                                                                        Attn: Ryan E. Manns                                ryan.manns@nortonrosefulbright.com
                                                                                                   2200 Ross Avenue, Suite 3600
                                                                                                   Dallas, TX 75201-7933
Notice of Appearance/Request for Notices Counsel Office of the Attorney General                    Attn: Christopher S. Murphy           512-936- 1409 christopher.murphy@oag.texas.gov         Email
for the Texas Workforce Commission                                                                 Attn: Sherri K. Simpson                             sherri.simpson@oag.texas.gov
                                                                                                   Bankruptcy & Collections Division
                                                                                                   P.O. Box 12548
                                                                                                   Austin, TX 78711-2548
Core Parties                                      Office of the United States Trustee              Attn: David L. Buchbinder             302-573-6497 david.l.buchbinder@usdoj.gov              Email
Office of the United States Trustee                                                                Attn: Hannah Mufson McCollum                       hannah.mccollum@usdoj.gov                 Overnight Mail
                                                                                                   844 King St, Suite 2207
                                                                                                   Lockbox 35
                                                                                                   Wilmington, DE 19801
Notice of Appearance/Request for Notices          Pachulski Stang Ziehl & Jones LLP                Attn: James I. Stang                  302-652-4400 jstang@pszjlaw.com                        Email
Counsel to the Tort Claimants' Committee                                                           Attn: Linda F. Cantor                              lcantor@pszjlaw.com
                                                                                                   10100 Santa Monica Blvd, 13th Fl
                                                                                                   Los Angeles, CA 90067-4003
Notice of Appearance/Request for Notices          Pachulski Stang Ziehl & Jones LLP                Attn: Robert Orgel                    302-652-4400 rorgel@pszjlaw.com                        Email
Counsel for the Tort Claimants' Committee                                                          Attn: James O'Neill                                joneill@pszjlaw.com
                                                                                                   Attn: John Lucas                                   jlucas@pszjlaw.com
                                                                                                   Attn: Ilan Scharf                                  ischarf@pszjlaw.com
                                                                                                   919 N Market St.,17th Floor
                                                                                                   P.O. Box 8705
                                                                                                   Wilmington, DE 19899-8705


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                                                                                                     Exhibit A
                                                                                               Core/2002 Service List
                                                                                              Served as set forth below

Description                                         Name                                   Address                               Fax          Email                             Method of Service
Notice of Appearance/Request for Notices            Pension Benefit Guaranty Corporation   Attn: Patricia Kelly, CFO             202-326-4112 kelly.patricia@pbgc.Gov           Email
Counsel for the Pension Benefit Guaranty                                                   Attn: Cassandra Burton, Attorney                   burton.cassandra@pbgc.gov
Corporation                                                                                Attn: Craig Fessenden                              fessenden.craig@pbgc.gov
                                                                                           1200 K St NW
                                                                                           Washington, DC 20005
Notice of Appearance/Request for Notices            Pepper Hamilton LLP                    Attn: David M. Fournier               302-421-8390 fournierd@pepperlaw.com           Email
Counsel for the National Surety Corporation &                                              Attn: Marcy J. McLaughlin Smith                    mclaughm@pepperlaw.com
Allianz Global Risks US Insurance Company                                                  1313 Market St, Ste 5100
                                                                                           P.O. Box 1709
                                                                                           Wilmington, DE 19899-1709
Notice of Appearance/Request for Notices            Pfau Cochran Vertetis Amala PLLC       Attn: Michael T. Pfau                 206-623-3624 michael@pcvalaw.com               Email
Counsel for Various Tort Claimants                                                         Attn: Jason P. Amala                               jason@pcvalaw.com
                                                                                           Attn: Vincent T. Nappo                             vnappo@pcvalaw.com
                                                                                           403 Columbia Street, Suite 500
                                                                                           Seattle, WA 98104
Notice of Appearance/Request for Notices            Phillips Lytle LLP                     Attn: Angela Z Miller                 716-852-6100 amiller@phillipslytle.com         Email
Counsel for Pearsons Education, Inc. and NSC                                               One Canalside, 125 Main St
Pearsons, Inc.                                                                             Buffalo, NY 14203,
Notice of Appearance/Request for Notices            Reed Smith LLP                         Attn: Kurt F. Gwynne                  302-778-7575 kgwynne@reedsmith.com             Email
Counsel to the Official Committee of Unsecured                                             Attn: Katelin A. Morales                           kmorales@reedsmith.com
Creditors                                                                                  120 N Market St, Ste 1500
                                                                                           Wilmington, DE 19801
Notice of Appearance/Request for Notices            Richards, Layton & Finger, PA          Attn: Michael Merchant                302-651-7701 merchant@rlf.com                  Email
Counsel for The Church of Jesus Christ of Latter-                                          Attn: Brett Haywood                                haywood@rlf.com
day Saints                                                                                 One Rodney Square
                                                                                           920 N King St
                                                                                           Wilmington, DE 19801
Notice of Appearance/Request for Notices            Seitz, Van Ogtrop & Green, P.A.        Attn: R. Karl Hill                    302-888- 0606 khill@svglaw.com                 Email
Counsel for Liberty Mutual Insurance Company                                               222 Delaware Ave, Ste 1500
                                                                                           Wilmington, DE 19801
Notice of Appearance/Request for Notices            Sequoia Council of Boy Scouts, Inc.    Attn: Michael Marchese                              michael.marchese@scouting.org    Email
Sequoia Council of Boy Scouts, Inc.                                                        6005 N. Tamera Avenue
                                                                                           Fresno, CA 93711
Notice of Appearance/Request for Notices            Shipman & Goodwin LLP                  Attn: Abigail W. Williams             202-469-7751 awilliams@goodwin.com             Email
Counsel for Hartford Accident and Indemnity                                                Attn: Joshua D. Weinberg                           jweinberg@goodwin.com
Company, First State Insurance Company, and                                                1875 K St NW, Ste 600
Twin City Fire Insurance Company                                                           Washington, DC 20006-1251
Notice of Appearance/Request for Notices            Shipman & Goodwin LLP                  Attn: Eric S. Goldstein               860-251-5218 egoldstein@goodwin.com            Email
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Twin City Fire Insurance Company
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and Delaware BSA, LLC
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                                                                                                          Exhibit A
                                                                                                    Core/2002 Service List
                                                                                                   Served as set forth below

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successor to CCI Insurance Company                                                               A n: Richard Weinbla
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                                                                                                 Norfolk, VA 23541
Bonds                                                  The County Commission Of Fayette County   Attn: President                                                                         First Class Mail
                                                                                                 P.O. Box 307
                                                                                                 Fayetteville, WV 25840
Bonds                                                  The County Commission Of Fayette County   c/o Steptoe & Johnson Pllc                                                              First Class Mail
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                                                                                                   Core/2002 Service List
                                                                                                  Served as set forth below

Description                                        Name                                        Address                               Fax          Email                            Method of Service
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